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                        UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF CONNECTICUT


JACK MONTAGUE,
     Plaintiff,

v.
                                                          CIVIL ACTION
YALE UNIVERSITY, ANGELA GLEASON,                          No. 3:16-cv-00885-AVC
and JASON KILLHEFFER,
      Defendants.



      JOINT STIPULATION AND REQUEST TO AMEND SCHEDULING ORDER

       Plaintiff Jack Montague and Defendants Yale University, Angela Gleason, and Jason

Killheffer (together, the “Parties”) hereby jointly stipulate and request to amend the current

scheduling order (ECF No. 121), as previously amended by ECF No. 173. As reasons therefor,

the Parties state as follows:

       1.      On March 29, 2019, the Court issued an Order (ECF No. 177) granting in part and

denying in part Defendants’ Motion for Summary Judgment. Pursuant to ECF Nos. 171 and 173,

the Joint Trial Memorandum is presently due to be submitted 30 days after the issuance of the

Court’s summary judgment order, making it due April 29, 2019.

       2.      On April 5, 2019, the Court ordered the Parties to attend a settlement conference

(ECF No. 178). That settlement conference is scheduled to occur before Magistrate Judge

William Garfinkel on May 7, 2019 (ECF No. 180).

       3.      As stated in the Settlement Conference Order, the purpose of the settlement

conference is to give the “[P]arties the opportunity to consider settlement before additional

litigation expenses and resources are expended.” ECF No. 180. Accordingly, to allow the

Parties both to focus on the settlement conference and to avoid the expenditure of what may
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prove to be unnecessary time and resources in preparing the Joint Trial Memorandum, the Parties

request that the current deadline to submit the Joint Trial Memorandum be extended

approximately 90 days, to July 26, 2019. The Parties have agreed that should the Court grant

this Motion, Plaintiff’s initial compliance with the Court’s standing order regarding the Joint

Trial Memorandum will be due June 28, followed by the Defendants’ response and initial

compliance by July 10, followed by joint compliance by July 26. The Parties further request

that the “Trial Ready” date be re-set to September 9, 2019.

       4.      The Parties stipulate to the requested amendment set forth below, which will not

prejudice the Parties.

       WHEREFORE, the Parties request that this Court amend the November 1, 2017

Scheduling Order (ECF No. 121), as amended by ECF No. 173, as follows:


                  Event                                Current                  Proposed
Joint Trial Memorandum filed on or before       April 29, 2019 (30        July 26, 2019
                                                days after Court’s
                                                decision on
                                                Defendants’ Motion
                                                for Summary
                                                Judgment)
Trial Ready by                                  30 days after filing of   September 9, 2019
                                                Joint Trial
                                                Memorandum




JACK MONTAGUE,                                       THE DEFENDANTS
By his attorneys,

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Dated: April 22, 2019




                               CERTIFICATE OF SERVICE

        I, Christian G. Kiely, hereby certify that this document filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) on April 22, 2019.

                                                  /s/ Christian G. Kiely




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